         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 1 of 28



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12
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13

14                              UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16
     SHEJUANA ARY, individually and on behalf of     Case No.
17   all other persons similarly situated,
18
                                 Plaintiff,          CLASS ACTION COMPLAINT
19
                    v.                               JURY TRIAL DEMANDED
20
     TARGET CORPORATION,
21

22                               Defendant.

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     CLASS ACTION COMPLAINT
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 2 of 28




            Plaintiff Shejuana Ary (“Plaintiff”), brings this action on behalf of herself and all
 1

 2   others similarly situated against Defendant Target Corporation (“Defendant”). Plaintiff makes the

 3   following allegations pursuant to the investigation of her counsel and based upon information and
 4   belief, except as to the allegations specifically pertaining to herself, which are based on her
 5
     personal knowledge.
 6
                                             INTRODUCTION
 7

 8          1.      This is a putative class action lawsuit on behalf of purchasers of Defendant’s “up &

 9   up lidocaine pain-relief patches” (the “Lidocaine Patches”). Defendant markets, sells, and
10   distributes the Lidocaine Patches through numerous brick-and-mortar Target stores and online
11
     through www.target.com.
12
            2.      Lidocaine is a topical anesthetic that is used to treat pain by blocking the
13
     transmission of pain signals from nerve endings in the skin to the spinal cord and brain.
14

15   Specifically, lidocaine functions by blocking sodium channels located on nerve endings which

16   prevents action potential from propagating in the nerve cell and thereby interrupts the transmission

17   of pain signals.
18
            3.      Although lidocaine patches and creams are often prescribed by doctors, Defendant
19
     offers its Lidocaine Patches over-the-counter to unsuspecting consumers under false pretenses.
20
     Defendant takes advantage of these consumers by prominently displaying on the packaging of the
21
     Lidocaine Patches that they provide “pain-relief” using a “maximum strength” dose of lidocaine
22

23   for “up to 8 hours.” Plaintiff and the proposed class members relied on those representations when

24   making their purchases. To their dismay, however, Defendant’s Lidocaine Patches regularly peel
25   off their bodies within a few hours, and oftentimes minutes, after being properly applied.
26
     Furthermore, Defendant’s Lidocaine Patches do not contain or deliver the maximum amount of
27
     lidocaine available with, or without, a prescription.
28

     CLASS ACTION COMPLAINT                                                                                1
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 3 of 28




            4.      As a result of its deceptive conduct, Defendant is, and continues to be, unjustly
 1

 2   enriched at the expense of its customers.

 3                                               THE PARTIES
 4          5.      Plaintiff Shejuana Ary is a natural person and citizen of California who resides in
 5
     Hayward, California. Plaintiff purchased Defendant’s Lidocaine Patches for her personal use for
 6
     approximately $7.99 on various occasions within the applicable statute of limitations, with her
 7
     most recent purchase taking place on or about January of 2022. Plaintiff Ary made these purchases
 8

 9   from one of Defendant’s pharmacies located in Alameda County, California. Prior to her

10   purchases, Plaintiff saw that the Lidocaine Patches were labeled and marketed as providing “pain-

11   relief” using a “maximum strength” dose of lidocaine for “up to 8 hours.” Plaintiff relied on
12   Defendant’s representations when she decided to purchase the Lidocaine Patches over comparable
13
     and less expensive pain-relieving patches or creams. Plaintiff saw those representations prior to and
14
     at the time of her purchases and understood them as a representation and warranty that the
15
     Lidocaine Patches would reliably adhere to her body and provide pain relief for up to 8 hours by
16

17   delivering a maximum strength dose of lidocaine. Initially, Plaintiff became frustrated when her

18   Lidocaine Patches peeled off her body while engaging in regular activities—such as walking,

19   stretching, and sleeping—well before the represented 8 hours, through no fault of her own. Having
20
     given the Lidocaine Patches the benefit of the doubt, Plaintiff realized that the Lidocaine Patches
21
     consistently failed to provide pain relief anywhere close to the represented 8 hours. For example,
22
     on a couple of occasions, the Lidocaine Patches that Plaintiff bought peeled off her body within an
23
     hour or two after she properly applied them pursuant to the directions contained on the products—
24

25   delivering little to no analgesic effect to her sore muscles. Plaintiff relied on Defendant’s

26   representations and warranties in deciding to purchase the Lidocaine Patches. Accordingly, those
27   representations and warranties were part of the basis of her bargains, in that she would not have
28

     CLASS ACTION COMPLAINT                                                                                2
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 4 of 28




     purchased the Lidocaine Patches on the same terms had she known those representations and
 1

 2   warranties were false. Additionally, in making her purchases, Plaintiff paid a substantial price

 3   premium due to the Defendant’s false and misleading claims regarding the qualities of its
 4   Lidocaine Patches in comparison to less expensive lidocaine patches that did not contain those
 5
     representations. However, Plaintiff did not receive the benefit of her bargains because her
 6
     Lidocaine Patches did not, in fact, provide “pain-relief” using a “maximum strength” dose of
 7
     lidocaine for “up to 8 hours.”
 8

 9             6.    Plaintiff continues to desire to purchase the Lidocaine Patches from Defendant.

10   However, concerned about the actual efficacy and health-related risks of the Lidocaine Patches,

11   Plaintiff is unable to determine the true composition of the Lidocaine Patches. Plaintiff understands
12   that the composition of the Lidocaine Patches may change over time. But as long as Defendant
13
     continues to represent that Lidocaine Patches afford “pain-relief” using a “maximum strength”
14
     dose of lidocaine for “up to 8 hours” without disclosing their actual pharmacological qualities,
15
     when presented with false or misleading information when shopping, she will be unable to make
16

17   informed decisions about whether to purchase Defendant’s Lidocaine Patches and will be unable to

18   evaluate the different prices between Defendant’s Lidocaine Patches and those of competitor

19   brands.
20
               7.    Defendant Target Corporation (“Defendant”) is a Minnesota corporation with its
21
     principal place of business in Minneapolis Minnesota. Defendant markets, sells, and distributes the
22
     Lidocaine Patches and is responsible for the advertising, marketing, trade dress, and packaging of
23
     the Lidocaine Patches. Defendant marketed, distributed, and sold the Lidocaine Patches during the
24

25   class period.

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     CLASS ACTION COMPLAINT                                                                               3
           Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 5 of 28




                                         JURISDICTION AND VENUE
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 2           8.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A).

 3   There are more than 100 Class Members, the aggregate claims of all members of the proposed
 4   Class exceed $5,000,000.00, exclusive of interest and costs, and at least one Class Member is a
 5
     citizen of a state different than Defendant.
 6
             9.     This Court has personal jurisdiction over Defendant transacts substantial business in
 7
     this District, has substantial aggregate contacts with this District, engaged in conduct that has and
 8

 9   had a direct, substantial, reasonably foreseeable, and intended effect of causing injury to persons

10   throughout this District, and purposefully availed itself of the laws of the State of California in this

11   District, because the acts and transactions giving rise to this action occurred in this District.
12           10.    This Court is the proper venue for this action pursuant to pursuant to 28 U.S.C. §
13
     1391 because a substantial part of the events, omissions, and acts giving rise to Plaintiff’s claims
14
     herein occurred in this District.
15

16                                       FACTUAL ALLEGATIONS

17   Defendant’s False Advertising
18
             11.    Defendant markets, sells, and distributes the Lidocaine Patches through numerous
19
     brick-and-mortar Target retail locations and online through www.target.com. On the Lidocaine
20
     Patches packaging, Defendant represents that its Lidocaine Patches provide “pain-relief” using a
21

22   “maximum strength” dose of lidocaine for “up to 8 hours.”

23   ///
24
     ///
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26   ///

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     CLASS ACTION COMPLAINT                                                                                  4
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 6 of 28




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            12.     By representing that Lidocaine Patches are capable of providing “pain-relief” using
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17   a “maximum strength” dose of lidocaine for “up to 8 hours”—a very specific number—Defendant

18   induced Plaintiff and the proposed class members into believing that the Lidocaine Patches would

19   continuously adhere to their bodies for 8 hours and would provide pain relief throughout the
20
     specified amount of time represented therein.
21
            13.     Furthermore, by representing that the Lidocaine Patches provide a “maximum
22
     strength” dose of lidocaine, Defendant induced Plaintiff and the proposed class members into
23
     believing that the Lidocaine Patches: (1) contain and deliver the maximum amount of lidocaine
24

25   available in the market; and (2) that they are superior, or at least equivalent, in efficacy and results

26   to other over-the-counter and/or prescription-strength lidocaine patches.
27

28

     CLASS ACTION COMPLAINT                                                                                     5
           Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 7 of 28




               14.   Despite those representations, however, Defendant’s Lidocaine Patches: (1)
 1

 2   systematically fail to adhere to its consumers’ bodies well before 8 hours; (2) are insufficiently

 3   flexible to withstand regular activities (such as walking, stretching, and sleeping); (3) fail to
 4   continuously relieve pain throughout the specified amount of time represented therein due to their
 5
     partial or complete detachment; (4) do not contain or deliver the maximum amount of lidocaine
 6
     available in the market; and (5) are not superior, or at least equivalent, in efficacy and results to
 7
     other over-the-counter and/or prescription-strength lidocaine patches.
 8

 9       Defendant’s Knowledge of the Defective Lidocaine Patches

10             15.   Defendant knew that its Lidocaine Patches did not live up to their representations
11
     based on dozens of complaints posted on its own website, www.target.com, which Defendant
12
     actively monitors. Below is an illustrative example of some of the most recent reviews that
13
     customers have posted on Defendant’s website:1
14

15   ///

16
     ///
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     ///
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19   ///

20   ///
21
     ///
22

23   ///

24   ///
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26
     1
27    https://www.target.com/p/lidocaine-4-pain-relieving-gel-patch-6ct-up-38-up-8482/-/A-
     75664970#lnk=sametab (last accessed April 27, 2022).
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     CLASS ACTION COMPLAINT                                                                                  6
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 8 of 28




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     CLASS ACTION COMPLAINT                                             7
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 9 of 28




             16.     Furthermore, Defendant knew, or should have known, that its Lidocaine Patches
 1

 2   were defectively designed based on FDA reports and scientific studies regarding the efficacy of the

 3   products.
 4           17.     Specifically, Defendant’s Lidocaine Patches work by delivering lidocaine through a
 5
     topical delivery system—i.e., by delivering the analgesic chemical “through the dermis, or skin…in
 6
     ointment or patch form.”2 According to FDA reports, topical delivery systems, such as the one used
 7
     by Defendant, systematically fail to adhere to the body.3 To that end, the FDA is in the process of
 8

 9   finalizing an industry guidance on “Transdermal and Topical Delivery Systems” to address, inter

10   alia, “considerations for areas where quality is closely tied to product performance and potential

11   safety issues, such as adhesion failure…”4
12           18.     Even more alarming, the FDA Adverse Events Reporting System reports that
13
     approximately 70% of concerns stemming from lidocaine patches involve their poor adhesion.5
14
             19.     Furthermore, a peer-reviewed study published in January of 2021 by the Journal of
15
     Pain Research found that 0% of generic prescription lidocaine patches had a >90% adhesion rate to
16

17   the study’s subjects after 12 hours (i.e., essentially no part of the product lifting off the skin).6 The

18
     2
19     https://medical-dictionary.thefreedictionary.com/transdermal (last accessed April 27, 2022).
     3
       See Yellela S.R. Krishnaiah FDA Perspectives on Product Quality of Transdermal Drug Delivery
20   Systems, PhD Division of Product Quality Research OTR/OPQ/CDER US Food and Drug
     Administration Silver Spring, MD, USA AAPS 2015_Sunrise Session (2015).
21   https://healthdocbox.com/Deafness/74997073-Fda-perspectives-on-product-quality-of-transdermal-
     drug-delivery-systems.html (last accessed April 27, 2022).
22   4
       See 84 FR 64319 - Transdermal and Topical Delivery Systems-Product Development and Quality
23   Considerations; Draft Guidance for Industry; Availability (2019)
     https://www.regulations.gov/document/FDA-2019-D-4447-0001 (last accessed April 27, 2022).
     5
24     See Gudin J, Nalamachu S. Utility of lidocaine as a topical analgesic and improvements in patch
     delivery systems. Postgrad Med. 2020;132(1):28–36. doi:10.1080/00325481.2019.1702296
25   https://www.tandfonline.com/doi/full/10.1080/00325481.2019.1702296 (last accessed April 27,
     2022).
26   6
       See Gudin J, Webster LR, Greuber E, Vought K, Patel K, Kuritzky L. Open-Label Adhesion
27   Performance Studies of a New Lidocaine Topical System 1.8% versus Lidocaine Patches 5% and
     Lidocaine Medicated Plaster 5% in Healthy Subjects. J Pain Res. 2021;14:513-526. Published
28   2021 Feb 23. doi:10.2147/JPR.S287153. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7914064/


     CLASS ACTION COMPLAINT                                                                                      8
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 10 of 28




     study also found that after 12 hours, “37.5% of subjects experienced substantial detachment (to
 1

 2   <10% adhesion) while using the generic lidocaine patch 5%, including 7 (29.1%) complete

 3   detachments.” The study also found that the mean adhesiveness score of the generic lidocaine
 4   patches after 12 hours was 37.67% (where 0% reflects complete detachment and 50% reflects half
 5
     the product lifting off the skin but not detached). In contrast, the study found that a newly
 6
     developed 1.8% lidocaine patch technology, which is bioequivalent to 5% lidocaine patches,7
 7
     maintained a mean adhesion >90% across all time points (0, 3, 6, 9, and 12 h).
 8

 9           20.       Although the study published by the Journal of Pain Research only tested generic

10   prescription lidocaine patches, upon information and belief, Defendant’s over-the-counter

11   Lidocaine Patches—which have not undergone the rigorous approval process required by the FDA
12   and use the same outdated and defective adhesion technology as the generic lidocaine patches8 —
13
     fair no better.
14

15

16

17   (last accessed April 27, 2022). The study measured the adhesion of the patches “immediately after
     application (0 hours) and at 3, 6, 9, and 12 hours (±15 minutes; before product removal) after
18   application. Assessments in Study 1 were performed by a trained scorer using the FDA-
     recommended 5-point adhesion scale. The FDA scale ranges from 0 to 4, where 0 represents ≥90%
19   of the product adhered (essentially no part of the product lifting off the skin), 1 represents 75% to
     <90% adhered (only some edges of the product lifting off the skin), 2 represents 50% to <75%
20   adhered (less than half the product lifting off the skin), 3 represents >0% to <50% adhered (more
     than half the product lifting off the skin but not detached), and 4 represents 0% adhered (complete
21   product detachment). The mean cumulative adhesion score was calculated by summing the scores
     at 3, 6, 9, and 12 hours and dividing the total by the total number of observations per subject.” Id.
22   7
       Gudin J, Argoff C, Fudin J, Greuber E, Vought K, Patel K, Nalamachu S. A Randomized, Open-
23   Label, Bioequivalence Study of Lidocaine Topical System 1.8% and Lidocaine Patch 5% in
     Healthy Subjects. J Pain Res. 2020 Jun 22;13:1485-1496. doi: 10.2147/JPR.S237934. PMID:
24   32606914; PMCID: PMC7319520. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7319520/ (last
     accessed April 27, 2022).
     8
25     Defendant, whose Lidocaine Patches are manufactured in China, has not been approved by the
     FDA to market or sell its Lidocaine Patches despite being required to do so. The FDA is currently
26   reviewing a Citizen Petition filed by Scilex Pharmaceuticals Inc. (a manufacturer of FDA-approved
     lidocaine patches) to remove from the market all over-the-counter lidocaine patches that lack FDA
27   approval. See https://www.regulations.gov/docket/FDA-2019-P-0417/document (last accessed
     April 27, 2022).
28

     CLASS ACTION COMPLAINT                                                                               9
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 11 of 28




            21.     Furthermore, while certain companies have innovated their technology based on
 1

 2   clinical studies to ensure that their lidocaine patches reliably adhere to a consumer’s body,9 even

 3   while exercising,10 upon information and belief, Defendant has not.
 4          22.     In complete disregard of the wealth of information to the contrary, however,
 5
     Defendant continues to misrepresent that its Lidocaine Patches can provide pain relief to its
 6
     consumers’ bodies for up to 8 hours when, in fact, they fail to do so by large margins given their
 7
     poor adhesion technology. This is crucial because “[a]dequate adhesion is a critical quality attribute
 8

 9   for topical delivery systems; if the product lifts or detaches during wear, dosing may be

10   compromised and there is an increased risk of inadvertent exposure to others.”11

11          23.      Defendant also failed to inform its consumers that the Lidocaine Patches are prone
12   to even greater detachment when they engage in regular daily activities (such as walking,
13
     stretching, and sleeping).
14
     Defendant’s “Maximum Strength” Lidocaine Patches Misrepresentations
15
            24.     In 1983, the FDA published a Tentative Final Monography for External Analgesic
16

17   Drug Products for Over-the-Counter Human Use, 48 Fed. Reg. 5852-01 (Feb. 8, 1983) (the “1983

18   TFM”), which provides permissible language for the labeling, ingredients, and doses for over-the-

19   counter external analgesic products, including those containing 0.5% to 4% lidocaine. The 1983
20
     TFM, however, was solely concerned with regulating the use of lidocaine creams and ointments as
21

22
     9
       https://www.scilexpharma.com/scilex-presents-ztlido-data-on-superior-adhesion-over-lidocaine-
23   patch-formulation/ (last accessed April 27, 2022).
     10
24      A separate study demonstrated that Scilex’s lidocaine patches were able to reliably adhere when
     subjects engaged in moderate physical exercise (e.g., bike exercise) and heat (heating pad). See
25   Fudin J, Wegrzyn EL, Greuber E, Vought K, Patel K, Nalamachu S. A Randomized, Crossover,
     Pharmacokinetic and Adhesion Performance Study of a Lidocaine Topical System 1.8% During
26   Physical Activity and Heat Treatment in Healthy Subjects. J Pain Res. 2020;13:1359-1367.
     Published 2020 Jun 10. doi:10.2147/JPR.S238268.
27   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7293912/#CIT0007 (last accessed April 27, 2022).
     11
        See supra footnote 7.
28

     CLASS ACTION COMPLAINT                                                                                10
           Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 12 of 28




     a treatment for minor burns, cuts, and skin irritations; it did not consider, much less regulate, the
 1

 2   safety or efficacy of lidocaine patches for muscle pain relief. After seeing dozens of new lidocaine

 3   patches were introduced into the market, the FDA issued a proposed rule in 2003 to amend the
 4   1983 TFM seeking to exclude patches from the TFM; and it requested information—including the
 5
     “Labeling of currently marketed products”—to determine if patches are “generally recognized as
 6
     safe and effective.” See External Analgesic Drug Products for Over-the-Counter Human Use;
 7
     Reopening of the Administrative Record and Amendment of Tentative Final Monograph, 68 Fed.
 8

 9   Reg. 42324-01, 42326 (July 17, 2003). The FDA, however, never finalized that process: an

10   oversight that has permitted Defendant to mislabel its Lidocaine Patches as containing “maximum

11   strength” with little regulatory oversight.
12            25.     Specifically, the 1983 TFM limited 4% as the permitted lidocaine dose for over-the-
13
     counter lidocaine creams and ointments. Under the 1983 TFM, the strength of lidocaine products
14
     could be easily calculated by multiplying the 4% lidocaine limit per 1 gram of a cream or ointment
15
     (i.e., 40 milligrams of lidocaine per gram). Lidocaine patches, however, use transdermal/topical
16

17   delivery systems (“TDS”), a different drug delivery method whose actual strength cannot be

18   discerned using the 1983 TFM 4% lidocaine limit. Unlike lidocaine creams and ointments, TDS

19   patches are comprised of three main parts: (1) an outer protective backing membrane, (2) a drug-in-
20
     adhesive layer, and (3) a release liner that controls the rate and extent of drug administration: 12
21

22

23

24

25

26

27
     12
          https://www.fda.gov/media/132674/download (last accessed April 27, 2022).
28

     CLASS ACTION COMPLAINT                                                                                  11
          Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 13 of 28




             26.     As currently marketed, manufacturers of lidocaine patches attempt to shoehorn the
 1

 2   strength of their patches using the 1983 TFM 4% benchmark using a “mass of drug relative to the

 3   mass of the adhesive per patch.”13 Pursuant to FDA regulations, the “active ingredient” in a drug
 4   means “any component that is intended to furnish pharmacological activity or other direct effect in
 5
     the…treatment, or prevention of disease, or to affect the structure or any function of the body of
 6
     humans.” 21 CFR 201.66(b)(2). Defendant’s Lidocaine Patches use of 4% lidocaine as their
 7
     “active ingredient” based on their drug-to-adhesive ratio flouts the FDA’s regulations and does not
 8

 9   communicate any useful information to consumers regarding their pharmacological efficacy.14

10           27.    To make matters worse, Defendant touts that its Lidocaine Patches contain a

11   “maximum strength” dose of lidocaine. The FDA has expressly cautioned that such statements
12   would mislead consumers when it amended the 1983 TFM to clarify the appropriate labeling of
13
     hydrocortisone—a topical over-the-counter drug that was approved to treat same conditions as
14
     lidocaine (i.e., “itching” associated with “skin irritations”). See External Analgesic Drug Products
15
     for Over-the-Counter Human Use; Amendment of Tentative Final Monograph, 55 Fed. Reg. 6932
16

17   (February 27, 1990).

18           28.    Specifically, the FDA declined to include the term “maximum strength” within the

19   proposed amendment to the 1983 TFM because:
20

21
     13
22      See Citizen Petition from Scilex Pharmaceuticals Inc. at pg. 19.
     https://www.regulations.gov/document/FDA-2019-P-0417-0001 (last accessed April 27, 2022).
     14
23      “It is emphasized that most of these patch products are labeled as a percentage strength, without
     providing the total drug content per patch. For other topical dosage forms like creams, ointments,
24   and lotions, the amount of drug administered can easily be determined by weighing the mass of
     product and applying the strength factor as illustrated in the table below. In contrast, the amount of
25   drug applied for patch products cannot easily be determined because the exact mass of adhesive
     applied cannot be estimated due to the contributing mass of the backing materials. In as much as
26   patches are manufactured in a variety of sizes and thicknesses, the drug exposure from patches is
     unknown and cannot be estimated by reviewing the product label, unless the manufacturer
27   discloses the drug mass. Many of the patch products exclude this from their labels, and the absence
     of this information on unapproved OTC product labels creates a safety risk.” Id. at pg. 20.
28

     CLASS ACTION COMPLAINT                                                                               12
          Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 14 of 28




             It is possible that the same entity (a 0.5-percent hydrocortisone product), marketed by either
 1
             the same manufacturer or different manufacturers, could appear on the store shelf side-by-
 2           side with different labeling: one stating that the product is “regular strength” and the other
             stating that the same strength product is “maximum strength.” Further, referring to 1
 3
             percent hydrocortisone as “maximum strength” could not only be confusing but also
 4           be considered misleading because there are higher concentrations of hydrocortisone
             available by prescription. Id.
 5

 6           29.    In complete disregard of the FDA’s guidance and regulations, Defendant

 7   misrepresents, without providing adequate disclaimers, that its Lidocaine Patches provide a
 8   “maximum strength” dose of lidocaine, when, in fact, there are superior prescription lidocaine
 9
     patches in the market that deliver a higher amount of lidocaine: including the previously mentioned
10
     5% and 1.8% prescription-strength lidocaine patches.15
11
             30.    Furthermore, Defendant’s Lidocaine Patches do not contain, nor do they deliver, a
12

13   greater dose of lidocaine in comparison to other over-the-counter lidocaine patches. Specifically,

14   the FDA’s National Drug Code Directory indicates that Defendant’s Lidocaine Patches contain 560

15   milligrams of lidocaine per patch.16 Yet dozens of other over-the-counter lidocaine patches contain
16   a greater amount of lidocaine: ranging from 411.4 to 4,500 milligrams.17
17
             31.    Defendant’s arbitrary and patently false claim regarding the strength of its
18
     Lidocaine Patches goes beyond the pale. Had Defendant not made the false, misleading, and
19
     deceptive misrepresentations and omissions alleged herein, Plaintiff and the proposed class
20

21   members (1) would not have purchased the Lidocaine Patches: (2) would not have paid as much as

22   they did for those purchases; or (3) would have purchased less expensive lidocaine patches that do

23   not charge a premium for the “maximum strength,” or durational representations contained in
24
     15
25      See supra footnote 7.
     16
26      https://www.accessdata.fda.gov/spl/data/4a05261b-af63-46d1-a8b5-ec176ca1eba8/4a05261b-
     af63-46d1-a8b5-ec176ca1eba8.xml (last accessed April 27, 2022).
     17
27      See Attachment 1 re Citizen Petition from Scilex Pharmaceuticals Inc
     https://www.regulations.gov/document/FDA-2019-P-0417-0003 (last accessed April 27, 2022).
28

     CLASS ACTION COMPLAINT                                                                               13
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 15 of 28




     Defendant’s Lidocaine Patches. Thus, Plaintiff and the proposed class members suffered an injury
 1

 2   in fact and lost money or property as a result of Defendant’s wrongful conduct.

 3             32.    Although Defendant is in the best position to know what content it placed on its
 4   website and in marketing materials during the relevant timeframe, and the knowledge that
 5
     Defendant had regarding the false and defective nature of the Lidocaine Patches as well as its
 6
     failure to disclose the existence of those defects and misrepresentations to consumers, to the extent
 7
     necessary, Plaintiff satisfies the requirements of Rule 9(b) by alleging the following facts with
 8

 9   particularity:

10             33.    WHO: Defendant, Target Corporation, made material misrepresentations and/or

11   omissions of fact in its labeling and marketing of the Lidocaine Patches by representing that they
12   are capable of providing “pain-relief” using a “maximum strength” dose of lidocaine for “up to 8
13
     hours.”
14
               34.    WHAT: Defendant’s conduct here was and continues to be fraudulent because it
15
     has the effect of deceiving consumers into believing that the Lidocaine Patches are capable of
16

17   providing “pain-relief” using a “maximum strength” dose of lidocaine for “up to 8 hours.”

18   Defendant omitted from Plaintiffs and the proposed class members that the Lidocaine Patches: (1)

19   systematically fail to adhere to its consumers’ bodies well before 8 hours; (2) are insufficiently
20
     flexible to withstand regular activities (such as walking, stretching, and sleeping); (3) fail to
21
     continuously relieve pain throughout the specified amount of time represented therein due to their
22
     partial or complete detachment; (4) do not contain or deliver the maximum amount of lidocaine
23
     available in the market; and (5) are not superior, or at least equivalent, in efficacy and results to
24

25   other over-the-counter and/or prescription-strength lidocaine patches.

26             35.    WHEN: Defendant made material misrepresentations and/or omissions during the
27   putative Class periods, including prior to and at the time Plaintiff and the proposed class members
28

     CLASS ACTION COMPLAINT                                                                                  14
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 16 of 28




     purchased the Lidocaine Patches, despite its knowledge that the Lidocaine Patches do not conform
 1

 2   to their purported qualities.

 3          36.     WHERE: Defendant’s marketing message was uniform and pervasive, carried
 4   through material misrepresentations and/or omissions on the labeling of the Lidocaine Patches’
 5
     packaging, website, and through marketing materials.
 6
            37.     HOW: Defendant made material misrepresentations and/or failed to disclose
 7
     material facts regarding the Lidocaine Patches, including their poor adhesion technology and the
 8

 9   inferior amounts and pharmacological efficacy of the lidocaine contained therein.

10          38.     WHY: Defendant made the material misrepresentations and/or omissions detailed

11   herein for the express purpose of inducing Plaintiff, the proposed class members, and all reasonable
12   consumers to purchase and/or pay for the Lidocaine Patches, the effect of which was that
13
     Defendant profited by selling the Lidocaine Patches to tens of thousands of consumers.
14
            39.     INJURY: Plaintiff and the proposed class members purchased, paid a premium, or
15
     otherwise paid more for the Lidocaine Patches when they otherwise would not have absent
16

17   Defendant’s misrepresentations and/or omissions.

18                                   CLASS ACTION ALLEGATIONS

19
            40.     Plaintiff brings this action on behalf of herself and all other similarly situated
20
     persons pursuant to Federal Rules of Civil Procedure 23(a), (b)(1), (b)(2), and (b)(3).
21
            41.     The class periods shall be defined from the date of the filing of this Complaint, back
22
     to any such time the Court deems appropriate.
23

24          42.     Plaintiff seeks to represent all persons in the United States who purchased

25   Defendant’s Lidocaine Patches (the “Class”).
26

27

28

     CLASS ACTION COMPLAINT                                                                              15
         Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 17 of 28




             43.    Plaintiff also seeks to represent a subclass of all Class members who purchased
 1

 2   Defendant’s Lidocaine Patches in California (the “California Subclass”) (collectively with the

 3   Class, the “Classes”).
 4           44.    The Classes do not include (1) Defendant, its officers, and/or its directors; or (2) the
 5
     Judge to whom this case is assigned and the Judge’s staff.
 6
             45.    Plaintiff reserves the right to amend the above class definitions and add additional
 7
     classes and subclasses as appropriate based on investigation, discovery, and the specific theories of
 8

 9   liability.

10           46.    Community of Interest: There is a well-defined community of interest among

11   members of the Classes, and the disposition of the claims of these members of the Classes in a
12   single action will provide substantial benefits to all parties and to the Court.
13
             47.    Numerosity: While the exact number of members of the Classes is unknown to
14
     Plaintiff at this time and can only be determined by appropriate discovery, upon information and
15
     belief, members of the Classes number in the millions. The precise number of the members of the
16

17   Classes and their identities are unknown to Plaintiff at this time but may be determined through

18   discovery. Members of the Classes may be notified of the pendency of this action by mail and/or

19   publication through the distribution records of Defendant and third-party retailers and vendors.
20
             48.    Existence and predominance of common questions of law and fact: Common
21
     questions of law and fact exist as to all members of the Classes and predominate over any
22
     questions affecting only individuals of the Classes. These common legal and factual questions
23
     include, but are not limited to:
24

25           (a) Whether the Lidocaine Patches are defective;

26           (b) Whether Defendant knew of the Lidocaine Patches’ defective nature;
27           (c) Whether Defendant breached the express warranties on the Lidocaine Patches’
28

     CLASS ACTION COMPLAINT                                                                                16
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 18 of 28




                  packaging;
 1

 2          (d) Whether Defendant’s representations that the Lidocaine Patches are capable of

 3                providing “pain-relief” using a “maximum strength” dose of lidocaine for “up to 8
 4                hours” are false and misleading in violation of California’s False Advertising Law,
 5
                  California’s Unfair Competition Law, as well as the Consumers Legal Remedies Act;
 6
            (a) Whether Plaintiff and the members of the Classes have suffered damages as a result of
 7
                  Defendant’s actions and the amount thereof;
 8

 9          (b) Whether Plaintiff and the members of the Classes are entitled to statutory damages;

10          (c) Whether Plaintiff and the members of the Classes are entitled to restitution;

11          (d) Whether Plaintiff and the members of the Classes are entitled to injunctive relief to
12                enjoin Defendant from further engaging in these wrongful practices; and
13
            (e) Whether Plaintiff and the members of the Classes are entitled to attorney’s fees and
14
                  costs.
15
            49.      Typicality: The claims of the named Plaintiff are typical of the claims of other
16

17   members of the Classes in that the named Plaintiff was exposed to Defendant’s false and

18   misleading marketing, purchased Defendant’s defective Lidocaine Patches, and suffered a loss as a

19   result of those purchases.
20
            50.      Adequacy: Plaintiff will fairly and adequately represent and protect the interests of
21
     the Classes as required by Federal Rule of Civil Procedure Rule 23(a)(4). Plaintiff is an adequate
22
     representative of the Classes because she has no interests which are adverse to the interests of the
23
     members of the Classes. Plaintiff is committed to the vigorous prosecution of this action and, to
24

25   that end, Plaintiff has retained skilled and experienced counsel.

26

27

28

     CLASS ACTION COMPLAINT                                                                                 17
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 19 of 28




            51.       Superiority: A class action is superior to all other available methods of the fair and
 1

 2   efficient adjudication of the claims asserted in this action under Federal Rule of Civil Procedure

 3   23(b)(3) because:
 4          (a) The expense and burden of individual litigation makes it economically unfeasible for
 5
                members of the Classes to seek to redress their claims other than through the procedure of
 6
                a class action;
 7
            (b) If separate actions were brought by individual members of the Classes, the resulting
 8

 9              duplicity of lawsuits would cause members of the Classes to seek to redress their claims

10              other than through the procedure of a class action; and

11          (c) Absent a class action, Defendant likely will retain the benefits of its wrongdoing, and
12              there would be a failure of justice.
13
                                             CAUSES OF ACTION
14
                                                      COUNT I
15                                Violation of The Magnuson-Moss Warranty Act,
                                               15 U.S.C. § 2301, et seq.
16                                      (On Behalf of Plaintiff and the Class)

17          52.       Plaintiff incorporates by reference each of the allegations contained in the foregoing
18   paragraphs of this Complaint as though fully set forth herein.
19
            53.       15 U.S.C. § 2310(d) is satisfied because Plaintiff properly invokes jurisdiction under
20
     the Class Action Fairness Act (“CAFA”).
21
            54.       15 U.S.C. § 2310(d)(1) provides a cause of action to “a consumer who is damaged
22

23   by the failure of a supplier, warrantor, or service contractor to comply with any obligation… under

24   a written warranty, implied warranty, or service contract.”

25          55.       Defendant’s Lidocaine Patches are consumer products as defined under 15 U.S.C. §
26   2301(1).
27

28

     CLASS ACTION COMPLAINT                                                                                18
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 20 of 28




              56.   Plaintiff and the Class members are consumers as defined under 15 U.S.C. §
 1

 2   2301(3).

 3            57.   Defendant is a supplier and warrantor as defined under 15 U.S.C. §§ 2301(4) and
 4   (5).
 5
              58.   15 U.S.C. § 2301(6)(A) defines “written warranty” as “any written affirmation of
 6
     fact or written promise made in connection with the sale of a consumer product by a supplier to a
 7
     buyer which relates to the nature of the material or workmanship and affirms or promises that such
 8

 9   material or workmanship…will meet a specified level of performance over a specified period of

10   time.”

11            59.   Defendant provided Plaintiff and the Class members “written warranties” within the
12   meaning of 15 U.S.C. § 2301(6) by providing written promises and affirmations of fact on the
13
     Lidocaine Patches’ packaging that the Lidocaine Patches: (1) contain and deliver a “maximum
14
     strength” dose of lidocaine available in the market; (2) are superior, or at least equivalent, in
15
     efficacy and results to other over-the-counter and/or prescription-strength lidocaine patches; and
16

17   (3) are capable of providing an adequate amount of “pain-relief” to be fit as an analgesic for sore

18   muscles. Further, Defendant qualified that the above-referenced qualities of its Lidocaine Patches

19   would remain effective “up to 8 hours.”
20
              60.   Those statements became the basis of the bargain for Plaintiff and the Class
21
     members because they are factual statements that a reasonable consumer would consider material
22
     when purchasing a lidocaine patch for pain relief.
23
              61.   Defendant breached the express warranties of its Lidocaine Patches because they:
24

25   (1) systematically fail to adhere to its consumers’ bodies well before 8 hours; (2) fail to

26   continuously relieve pain throughout the specified amount of time represented therein due to their
27   partial or complete detachment; (3) do not contain or deliver the maximum amount of lidocaine
28

     CLASS ACTION COMPLAINT                                                                                19
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 21 of 28




     available in the market; and (4) are not superior, or at least equivalent, in efficacy and results to
 1

 2   other over-the-counter and/or prescription-strength lidocaine patches.

 3          62.     As a direct and proximate result of Defendant’s breach of its written warranties,
 4   Plaintiff and the Class members have been damaged in an amount to be proven at trial.
 5
                                                COUNT II
 6                           Violation of California’s False Advertising Law,
                                  Cal. Bus. & Prof. Code § 17500, et seq.
 7                          (On Behalf of Plaintiff and the California Subclass)

 8          63.     Plaintiff incorporates by reference each of the allegations contained in the foregoing

 9   paragraphs of this Complaint as though fully set forth herein.

10          64.     The FAL makes it “unlawful for any person…to make or disseminate or cause to be
11
     made or disseminated before the public in this state, … [in] any advertising device … or in any
12
     other manner or means whatever, including over the Internet, any statement, concerning …
13
     personal property or those services, professional or otherwise, or … performance or disposition
14
     thereof, which is untrue or misleading and which is known, or which by the exercise of reasonable
15

16   care should be known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.

17          65.     Defendant committed acts of false and misleading advertising, as defined by the
18   FAL, by using statements to promote the sale of its Lidocaine Patches representing in the
19
     Lidocaine Patches’ packaging that they are capable of providing an a “pain-relief” using a
20
     “maximum strength” dose of lidocaine for “up to 8 hours.” In so doing, Defendant omitted that the
21
     Lidocaine Patches: (1) systematically fail to adhere to its consumers’ bodies well before 8 hours;
22

23   (2) are insufficiently flexible to withstand regular activities (such as walking, stretching, and

24   sleeping); (3) fail to continuously relieve pain throughout the specified amount of time represented

25   therein due to their partial or complete detachment; (4) do not contain or deliver the maximum
26   amount of lidocaine available in the market; and (5) are not superior, or at least equivalent, in
27
     efficacy and results to other over-the-counter and/or prescription-strength lidocaine patches.
28

     CLASS ACTION COMPLAINT                                                                                  20
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 22 of 28




             66.       Defendant knew or should have known that its advertising claims have not been
 1

 2   substantiated and are misleading and/or false.

 3           67.     Defendants knew or should have known, through the exercise of reasonable care,
 4   that its representations were false and misleading and likely to deceive consumers and cause them
 5
     to purchase Defendant’s Lidocaine Patches.
 6
             68.     Defendants’ wrongful conduct is ongoing and part of a general practice that is still
 7
     being perpetuated and repeated throughout the State of California and nationwide.
 8

 9           69.     As a result of Defendant’s wrongful conduct, Plaintiff and the California Subclass

10   members lost money in an amount to be proven at trial. Plaintiff and the California Subclass

11   members are therefore entitled to restitution as appropriate for this cause of action.
12           70.     Plaintiff and the California Subclass members seek all monetary and non-monetary
13
     relief allowed by law, including restitution of all profits stemming from Defendant’s unfair,
14
     unlawful, and fraudulent business practices; declaratory relief; reasonable attorneys’ fees and costs
15
     under California Code of Civil Procedure § 1021.5; injunctive relief; and other appropriate
16

17   equitable relief.

18                                                 COUNT III
                         Violation of California’s Consumers Legal Remedies Act (“CLRA”),
19                                        California Civil Code § 1750, et seq.
                              (On Behalf of Plaintiff and the California Subclass)
20
             71.     Plaintiff incorporates by reference each of the allegations contained in the foregoing
21

22   paragraphs of this Complaint as though fully set forth herein.

23           72.     Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods or services have

24   sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they do not
25   have or that a person has a sponsorship, approval, status, affiliation, or connection which he or she
26
     does not have.”
27

28

     CLASS ACTION COMPLAINT                                                                                 21
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 23 of 28




            73.      Civil § 1770(a)(7) prohibits “[r]epresenting that goods or services are of a particular
 1

 2   standard, quality, or grade, or that goods are of a particular style or model, if they are of another.”

 3          74.      Civil § 1770(a)(9) prohibits “advertising goods or services with intent not to sell
 4   them as advertised.”
 5
            75.      Defendant profited from the sale of the falsely, deceptively, and unlawfully
 6
     advertised Products to unwary consumers.
 7
            76.      Defendant’s wrongful business practices constituted, and constitute, a continuing
 8

 9   course of conduct in violation of the CLRA.

10          77.      On April 28, 2022, Plaintiff notified Defendants in writing, by certified mail, of the

11   violations alleged herein and demanded that Defendants remedy those violations pursuant to Cal.
12   Civ. Code § 1782.
13
            78.      Plaintiff and the California Subclass members presently seek only injunctive relief
14
     under this Count. If Defendant fails to remedy the violations alleged herein within 30 days of
15
     receipt of Plaintiff’s notice, Plaintiff will amend this Complaint to add claims for actual, punitive,
16

17   and statutory damages pursuant to the CLRA.

18                                                COUNT IV
                  Violation of Violation of California’s Unfair Competition Law, (“UCL”),
19                                 Cal. Bus. & Prof. Code §§ 17200, et seq.
                             (On Behalf of Plaintiff and the California Subclass)
20
            79.      Plaintiff incorporates by reference each of the allegations contained in the foregoing
21
     paragraphs of this Complaint as though fully set forth herein.
22

23          80.      The UCL broadly prohibits acts of “unfair competition,” including any “unlawful,

24   unfair or fraudulent business act or practice” and “unfair, deceptive, untrue or misleading

25   advertising.” Cal. Bus. & Prof. Code § 17200.
26          81.      Defendants’ acts, as described above, constitute unlawful, unfair, and fraudulent
27
     business practices pursuant to California Business & Professions Code §§ 17200, et seq.
28

     CLASS ACTION COMPLAINT                                                                                22
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 24 of 28




            82.     Defendant has violated the UCL’s proscription against engaging in Unlawful
 1

 2   Business Practices as a result of its violations of the CLRA, FAL, and the Magnuson-Moss

 3   Warranty Act, as described above.
 4          83.     As more fully described above, Defendant’s misleading marketing, advertising,
 5
     packaging, and labeling of the Products is likely to deceive reasonable consumers. In addition,
 6
     Defendant has committed unlawful business practices by, inter alia, making the representations and
 7
     omissions of material facts, as set forth more fully above.
 8

 9          84.     Defendant has also violated the UCL’s proscription against engaging in Unfair

10   Business Practices. Defendant’s acts, omissions, misrepresentations, practices and non-disclosures

11   as alleged herein also constitute “unfair” business acts and practices within the meaning of
12   Business & Professions Code § 17200 et seq. in that its conduct is substantially injurious to
13
     consumers, offends public policy, and is immoral, unethical, oppressive, and unscrupulous as the
14
     gravity of the conduct outweighs any alleged benefits attributable to such conduct.
15
            85.     There were reasonably available alternatives to further Defendant’s legitimate
16

17   business interests, other than the conduct described herein.

18          86.     Defendant has further violated the UCL’s proscription against engaging in

19   Fraudulent Business Practices. Defendant’s claims, nondisclosures and misleading statements
20
     with respect to the Products, as more fully set forth above, were false, misleading and/or likely to
21
     deceive the consuming public within the meaning of Business & Professions Code § 17200.
22
            87.     Plaintiff and the other California Subclass members suffered a substantial injury by
23
     virtue of buying the Lidocaine Patches that they would not have purchased absent Defendant’s
24

25   unlawful, fraudulent, and unfair marketing, advertising, packaging, and omission about the

26   defective nature of the Products.
27

28

     CLASS ACTION COMPLAINT                                                                                 23
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 25 of 28




            88.     There is no benefit to consumers or competition from deceptively marketing and
 1

 2   omitting material facts about the true nature of the Lidocaine Patches.

 3          89.     Plaintiff and the other California Subclass members had no way of reasonably
 4   knowing that the Lidocaine Patches that they purchased were not as marketed, advertised,
 5
     packaged, or labeled. Thus, they could not have reasonably avoided the injury each of them
 6
     suffered.
 7
            90.     The gravity of the consequences of Defendant’s conduct as described outweighs any
 8

 9   justification, motive, or reason therefore, particularly considering the available legal alternatives

10   which exist in the marketplace, and such conduct is immoral, unethical, unscrupulous, offends

11   established public policy, or is substantially injurious to Plaintiff and the other California Subclass
12   members.
13
            91.     Pursuant to California Business and Professional Code § 17203, Plaintiff and the
14
     California Subclass members seek an order of this Court that includes, but is not limited to, an
15
     order requiring Defendant to (a) provide restitution to Plaintiff and the other California Subclass
16

17   members; (b) disgorge all revenues obtained as a result of violations of the UCL; and (c) pay

18   Plaintiff and the California Subclass members’ attorneys’ fees and costs.

19                                               COUNT V
                                    Quasi-Contract / Unjust Enrichment
20                                  (On Behalf of Plaintiff and the Class)
21          92.     Plaintiff incorporates by reference each of the allegations contained in the foregoing
22
                    paragraphs of this Complaint as though fully set forth herein.
23
            93.     Plaintiff brings this claim individually and on behalf of Class members under the
24
     laws of the State of California.
25
            94.     To the extent required by law, this cause of action is alleged in the alternative to
26

27   legal claims, as permitted under Fed. R. Civ. P. 8.

28

     CLASS ACTION COMPLAINT                                                                                  24
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 26 of 28




               95.    Plaintiff and Class members conferred benefits on Defendant by purchasing the
 1

 2   Lidocaine Patches.

 3             96.    Defendant was unjustly enriched in retaining the revenues derived from Plaintiff
 4   and Class members’ purchases of the Lidocaine Patches.
 5
               97.    Retention of those moneys under these circumstances is unjust and inequitable
 6
     because Defendant failed to disclose that the Lidocaine Patches were unfit for their intended
 7
     purpose as an analgesic for sore muscles. These omissions caused injuries to Plaintiff and Class
 8

 9   members because they would not have purchased the Lidocaine Patches if the true facts were

10   known.

11             98.    Because Defendant’s retention of the non-gratuitous benefits conferred on them by
12   Plaintiff and Class members is unjust and inequitable, Defendant has been unjustly enriched in an
13
     amount to be determined at trial
14
                                            PRAYER FOR RELIEF
15
               WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
16

17   judgment against Defendant, as follows:

18             (a)    For an order certifying the Classes under Rule 23 of the Federal Rules of Civil

19   Procedure; naming Plaintiff as a representative of the Classes; and naming Plaintiff’s attorneys as
20
     Class Counsel to represent the Classes;
21
               (b)    For an order finding in favor of Plaintiff and the Classes on all counts asserted
22
     herein;
23
               (c)    For compensatory and punitive damages in amounts to be determined by the Court
24

25   and/or jury;

26             (d)    For prejudgment interest on all amounts awarded;

27             (e)    For an order of restitution and all other forms of equitable monetary relief; and

28

     CLASS ACTION COMPLAINT                                                                                25
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 27 of 28




             (g)     For an order awarding Plaintiff and the Classes their reasonable attorneys’ fees and
 1

 2   expenses and costs of suit.

 3                                     DEMAND FOR TRIAL BY JURY

 4           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any
 5   and all issues in this action so triable as of right.
 6

 7
     Dated: April 29, 2022                            Respectfully submitted,
 8
                                                      BURSOR & FISHER, P.A.
 9

10                                                    By: /s/ L. Timothy Fisher

11                                                    L. Timothy Fisher (State Bar No. 191626)
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19                                                    630 Fifth Avenue, Suite 2000
                                                      New York, NY 10111
20                                                    Telephone: (212) 884-4230
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21                                                    E-Mail: adrian@gr-firm.com

22                                                    Attorneys for Plaintiff

23

24

25

26

27

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     CLASS ACTION COMPLAINT                                                                                26
        Case 4:22-cv-02625-KAW Document 1 Filed 04/29/22 Page 28 of 28




 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2          I, L. Timothy Fisher, declare as follows:
 3          1.      I am an attorney at law licensed to practice in the State of California and a member
 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiff
 5   Shejuana Ary in this action. I have personal knowledge of the facts set forth in this declaration
 6   and, if called as a witness, I could and would competently testify thereto under oath.
 7          2.      The Complaint filed in this action is filed in the proper place for trial under Civil
 8   Code Section 1780(d) in that a substantial portion of the transaction alleged in the Complaint
 9   occurred in Alameda County. Plaintiff Ary alleges that she purchased the defective Lidocaine
10   Patches in this County.
11          I declare under the penalty of perjury under the laws of the State of California and the
12   United States that the foregoing is true and correct, and that this declaration was executed at
13   Walnut Creek, California, this 29th day of April, 2022.
14

15                                         /s/ L. Timothy Fisher
                                               L. Timothy Fisher
16

17

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